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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA

Vv. Case No. 22-cr-32 (FYP)
BLAS SANTILLAN,

Defendant.

 

 

ORDER
Upon consideration of defendant Blas Santillan’s [52] Unopposed Motion to extend his
self-surrender date, it is hereby
ORDERED that Mr. Santillan’s self-surrender date shall be extended to November 18,
2022, to give him adequate time to travel to the designated Bureau of Prisons facility after his
mixed martial arts event scheduled for November 5, 2022.

SO ORDERED.

Date: October 26, 2022 ADAM. e bn~

Florence Y. Pan

United States Circuit Judge

(Sitting by designation in the United States
District Court for the District of Columbia)

 
